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                      UNITED STATES BANKRUPTCY COURT
                     FOR THE DISTRICT OF MASSACHUSETTS

 ____________________________________
                                     )
 IN RE:                              )
 RICHARD A. WOROB                    )                        Chapter 13
        Debtor,                      )                        Case No. 22-10061
 ____________________________________)

  DEBTORS RESPONSE TO THE OBJECTION TO CONFIRMATION OF PLAN

    Now comes the Debtor, Richard A. Worob, through counsel and hereby responds to

 the Objection to Confirmation of Plan as follows:

        1.     Admitted.

        2.     Admitted.

        3.     Admitted.

        4.     Admitted.

        5.     Admitted.

        6.     Admitted.

        7.     Admitted.

        8.     No response required.

        9.     Admitted.

        10.    Admitted. Debtor shall amend Schedule J to show taxes and insurance.

        11.    Admitted.

        12.    The Debtor states that the tenants cover the utility bills.

        13.    The Debtor states that he will add a maintenance expense to Schedule J.

        14.    Denied.

        15.    Denied.
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        16.    Admitted.

        17.    Admitted.

        18.    Admitted, however the Debtor is not opposed to increasing the rent.

        19.    Admitted, however the Debtor is not opposed to increasing the rent.

        20.    Admitted.

        21.    Admitted, however the Debtor will increase the rent to show affordability

               with appropriate notice to the tenants.

        22.    Denied.

        23.    Denied.

        24.    Denied.

        25.    The Debtor would like the opportunity for a third party appraiser to assess

               the property.

        26.    Admitted.

        27.    Admitted.

        28.    Admitted as the movant is the first mortgage holder.

        29.    Admitted.

    WHEREFORE, the Debtor, Richard A. Worob, hereby requests that the Objection to

 Confirmation of Plan be withdrawn or denied by this Honorable Court.

                                              Respectfully Submitted,
                                              The Debtor,
                                              By Their Attorney,

                                              /s/ Peter M. Daigle
                                              Peter M. Daigle, Esquire
                                              1550 Falmouth Road, Suite 10
                                              Centerville, MA 02632
 Dated: July 20, 2022                         (508) 771-7444
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                             CERTIFICATE OF SERVICE

        I hereby certify that I have on this date caused a duplicate copy of the above to be
 served upon all parties of record via electronic mail and first class mail.

                                              /s/ Peter M. Daigle
                                              Peter M. Daigle, Esquire
                                              1550 Falmouth Road, Suite 10
                                              Centerville, MA 02632
                                              (508) 771-7444

 Dated: July 20, 2022

 Electronic Mail:

 Carolyn Bankowski, US Trustee
 John Fitzgerald, Asst. US Trustee
 Jason J. Giguere, Esq., Counsel for DLJ Mortgage Capital, Inc.
 DLJ Mortgage Capital, Inc.
